  Case 1:15-cr-00290-LO Document 147 Filed 10/26/18 Page 1 of 8 PageID# 974



                IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
v.                                   )      Criminal No. 1:15-CR-290
                                     )
                                     )
NOE MONTES-BOBADILLA, et al.,        )
                                     )
      Defendants.                    )
____________________________________)


         DEFENDANT’S THIRD MOTION, WITH MEMORANDUM, FOR THE
         PRODUCTION OF SPECIFIC EXCULPATORY INFORMATION; THE
          PRODUCTION OF WITNESSES; OR IN THE ALTERNATIVE, FOR
                    A SEVERANCE AND CONTINUANCE

       COMES NOW the defendant, Arnulfo Fagot-Maximo (hereinafter “Maximo”), by

counsel, and moves this Court, on November 9th, 2018, at 9:00 a.m., or as soon thereafter as

counsel may be heard, to order the government to produce and furnish to the defendant the

specific exculpatory information set forth below as required by Brady v. Maryland, 373 U.S. 83

(1963) and United States v. Agurs, 427 U.S. 97 (1976).

       In Brady, the Supreme Court held that due process forbids a prosecutor from suppressing

“evidence favorable to an accused upon request where the evidence is material either to guilt or

punishment, irrespective of the good faith or bad faith of the prosecution.” Id., at 87. See Giglio

v. United States, 405 U.S. 150 (1974); United States v. McCrane, 527 F.2d 906 (3d Cir. 1975),

aff’d after remand, 547 F.2d 205 (1976). The Supreme Court has also emphasized that

impeachment evidence, as well as exculpatory evidence, falls within the Brady rule. United

States v. Bagley, 473 U.S. 669, 678 (1985). Such evidence, if disclosed and used effectively,



                                                 1
  Case 1:15-cr-00290-LO Document 147 Filed 10/26/18 Page 2 of 8 PageID# 975



may make the difference between conviction and acquittal. See Napue v. Illinois, 360 U.S. 264

(1959) (“The jury’s estimate of the truthfulness and reliability of a given witness may well be

determinative of guilt or innocence, and it is upon such subtle factors as the possible interest of

the witness in testifying falsely that a defendant’s life or liberty may depend.”). In

acknowledging that the prosecution has a duty to disclose any favorable evidence that could be

used at trial, it is frequently overlooked that the prosecution also has a duty to disclose any

favorable evidence that could be used “in obtaining further evidence.” Giles v. Maryland, 386

U.S. 66, 74 (1967). Additionally, favorable evidence need not be competent evidence or

evidence admissible at trial. United States v. Gleason, 265 F. Supp. 880, 886 (S.D.N.Y. 1967);

Sellers v. Estelle, 651 F.2d 1074, 1077 n.6 (5th Cir. 1981)(evidence suppressed was material to

the preparation of petitioner’s defense, regardless whether it was intended to be admitted into

evidence).

        The Supreme Court has never precisely pinpointed the time at which the disclosure under

Brady must be made. It is abundantly clear, however, that disclosure by the government must be

made at such a time as to allow the defense to use favorable material effectively in the

preparation and presentation of its case, even if satisfaction of these criteria requires pre-trial

disclosure. United States v. Pollock, 534 F.2d 964, 974 (D.C. 1976). Accord United States v.

Presser, 844 F.2d 1275, 1283 (6th Cir. 1988); see United States v. Starusko, 729 F.2d 256, 261

(3d Cir. 1984)(Noting that Brady information which will require defense investigation or more

extensive defense preparation should be disclosed at an early stage of the case.); see, e.g., United

States v. Recognition Equipment, Inc., 711 F. Supp. 1, 14 (D.D.C. 1989)(Ordering immediate

disclosure of evidence regarding criminal records and other impeachment information for

government witnesses, statements to the effect that any of the defendants were not members of


                                                   2
  Case 1:15-cr-00290-LO Document 147 Filed 10/26/18 Page 3 of 8 PageID# 976



the charged conspiracy, and evidence supporting the defendants’ defenses). Manifestly a more

lenient disclosure burden on the government would drain Brady of all vitality. Unites States v.

Elmore, 423 F. 2d 775, 779 (5th Cir. 1970).

       The disclosures requested herein should be made immediately so that appropriate defense

preparation can be made. To make effective use of the information requested herein, it is

essential to test the reliability of this information through thoughtful consideration and thorough

investigation. This cannot be accomplished if disclosure is delayed.

       Finally, in this motion, the defendant seeks from the Court an order that goes beyond

disclosure of only known exculpatory evidence. The defendant asks the Court to order the

government to make a specific, affirmative effort to discover any and all exculpatory evidence

which exists and is known already to any government agent or agency or government witness (in

any jurisdiction, in the United States, or in any foreign country with whom the Government has

cooperated in the prosecution of this case). See Strickler v. Greene, 527 U.S. 263 (1999)(In

order to comply with Brady v. Maryland the individual prosecutor has a duty to learn of any

favorable evidence known to others acting on the government’s behalf, including law

enforcement).

       For the purposes of this motion, "information" includes all matters known to any agents

of the government and all matters which can be learned by the government's attorneys in the

exercise of due diligence, including information possessed and maintained in all federal law

enforcement and/or investigative agencies. The information requested hereinbelow refers to all

information, whether or not it constitutes competent or otherwise admissible evidence, whether

or not it is provided by a confidential source, and whether or not the information is deemed to be

classified in nature. Mr. Maximo thus requests the following discovery material.


                                                 3
  Case 1:15-cr-00290-LO Document 147 Filed 10/26/18 Page 4 of 8 PageID# 977




                 INFORMATION RELATING TO THE IDENTIFICATION
                           OF MATERIAL WITNESSES


        Counsel for Mr. Maximo is aware that this very issue was litigated at the previous motion

heard by this Court on October 11, 2018. At that time, counsel informed the Court that there are

a number of CS’s that counsel will be potentially seeking to call as witnesses on behalf of Mr.

Maximo. Counsel also informed the Court that consistent with such point, counsel had been

made aware of at least 15 CS’s that the Government is not intending to call (upon reading the

reports related to those CSs, it seems to be based on the fact they are not helpful to the

Government’s case and could be beneficial to Mr. Maximo’s case).

        During the October 11, 2018, motions hearing, in reference to the CSs that counsel was

referring to, the Court asked counsel “[h]ave you identified them to Mr. Traxler and said, we

want to call this witness, please have him produced if he is in Government custody. If he is not,

then please give me his information and - - because the way you’re bringing it to my attention

today . . . there’s no finiteness to your request.” After explaining that the government does not

generally have to identify confidential sources that they are not going to call as witnesses, and

the potential limitations of confidentialities, the Court then stated “[i]f you say, I want to call

confidential source three in my case, please identify them, identify him so that I can subpoena

him, that’s something that I will certainly look at. But I am not going to look at it at this stage

where you are.” A short while later, concerning the same issue of identification of CSs, the

Court stated “[w]ell, then make the request of Mr. Traxler for those that you believe are going to

provide evidence in support of whatever defense your client is presenting, and I will look at


                                                   4
  Case 1:15-cr-00290-LO Document 147 Filed 10/26/18 Page 5 of 8 PageID# 978



that.” Finally, at the end of the hearing, the Court stated “I am going to deny the motions at this

time without prejudice to allow Mr. Petrovich to further examine witnesses he believes he wants

to call in his - - or may call in his case, and supporting reasons for doing that.”

       After the motions hearing, counsel for Mr. Maximo set out again to narrow the scope of

its request and provide more specific information with regard to potential witnesses. After

another review of numerous relevant documents, on October 19, 2018 counsel emailed a request

to the government which among other things, requested that (14) specifically identified CSs “be

made available as potential witnesses.” After several emails were exchanged which clarified that

counsel sought only to have the (14) CSs made available as witnesses at trial and did not seek

their actual identities at this time due to the repeated government claims of safety, the

government reiterated its position of citing Roviaro, et al., and not having to grant counsel’s

request without more specific information as to why each of the CSs is relevant and helpful to

Mr. Maximo’s case. In response to that email, counsel then spent substantial time producing

specific information concerning each of the CSs referred to herein, including the reports

attributed to each CS, and the general reasons each CS is relevant and helpful to Mr. Maximo’s

case (see attached). That renewed request and information was then sent to the government on

the afternoon of October 24th. That same afternoon, the government refused counsel’s request

with regard to EVERY ONE of the (14) CSs listed.

       In its response to counsel, the government summarily states that they do not believe that

we have demonstrated that these sources have information that is relevant and helpful to our

client. The government reasons that, “you contend that your client’s name did not come up

during interviews with them. That fact alone is not helpful to your client, for the reasons we

have previously explained.” A review of the attached document reveals much more specific


                                                  5
  Case 1:15-cr-00290-LO Document 147 Filed 10/26/18 Page 6 of 8 PageID# 979



information and depth. For example, CS-12 stated that Maradiaga (a named CD who the

government is expected to call as a witness) “was in charge of the landing strips in Honduras.”

This contradicts directly other CSs that state that Mr. Maximo controlled air shipments into

Honduras and/or Mosquitia, including Maradiaga himself. Other CSs on counsel’s list provide

detailed information pertaining to air shipments of drugs into Honduras and associated with the

alleged Montes DTO. They are supportive of Mr. Maximo’s defense for similar reasons to CS-

12. Also, it is important to point out that another witness the government plans on calling,

Arnulfo Valle Valle, has stated that Noe Montes-Bobadilla and Mr. Maximo were “equals” with

regard to Montes DTO activities, and that they were “partners.” A number of the suggested CSs

clearly call into question that assertion, as well as Arnulfo Valle Valle’s credibility. Still other

CS’s and potential witnesses for the government say that Mr. Maximo was actually the leader of

the Arrechevala DTO in Mosquitia. A number of the CSs on counsel’s list would call into

question those assertions, and the CS’s that attempt to aver that.

       The government has not, and likely will not state in advance which witnesses they will

call. Thus, defense counsel needs to be able to react to whatever witnesses the government calls

to testify at trial. Thus, defense counsel requests this court to order the government to provide

the exculpatory evidence of the identities of the CSs listed herein. In the alternative, counsel

asks this Court to order the government to make the CSs available to counsel at trial.


                     IN THE ALTERNATIVE, MR. MAXIMO SEEKS A
                           SEVERANCE AND CONTINUANCE


       If for any reason the government is not required to provide the exculpatory information

and/or relief requested above, Mr. Maximo hereby moves for a severance from the trial of his co-



                                                  6
  Case 1:15-cr-00290-LO Document 147 Filed 10/26/18 Page 7 of 8 PageID# 980



defendant, and a continuance of his trial date.

       Based on the information provided to counsel for Mr. Maximo to date, it appears that the

government’s objection to providing the exculpatory information requested herein is the safety of

the CSs, should they testify. Logically, that would be based on fear of actions they feel would be

taken by Noe Montes-Bobadilla (hereinafter “Montes”). This is so because if those CSs are

called as witnesses by Mr. Maximo, in an effort to help his case, there would be no reason for

him to seek any kind of revenge against them. Thus, if the trials of Mr. Maximo and Montes are

severed, the CSs listed above would not need to provide any testimony against Montes, as they

would if the trials remain joined. Counsel for Mr. Maximo has previously moved this court for a

severance of his trial from that of Montes (see motion filed on June 26, 2018 and heard on July

27, 2018). Counsel hereby incorporates the argument previously set forth in further support of a

severance under these circumstances.

       Given a severance, counsel would request a continuance of Mr. Maximo’s case to ensure

ample opportunity to procure the witnesses sought by counsel hereinabove.

       WHEREFORE, for the reasons stated herein, and for such other reasons as may appear to

the Court, the defendant asks the Court to grant this Motion and compel the government to

provide the exculpatory information requested above.



                                                      Respectfully submitted,

                                                      ARNULFO FAGOT-MAXIMO
                                                      By Counsel




                                                  7
  Case 1:15-cr-00290-LO Document 147 Filed 10/26/18 Page 8 of 8 PageID# 981



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                               CERTIFICATE OF SERVICE


        I hereby certify that on or before the 26th day of October, 2018, I will electronically file
the foregoing with the Clerk of Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to the following:


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                                                  8
